     Case 2:11-cv-03052-LKK-AC Document 33 Filed 01/28/14 Page 1 of 2


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 8                                   UNITED STATES DISTRICT COURT
 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   MARCUS L. HUDSON,                                  No. 2:11-cv-3052 LKK AC P
12                      Plaintiff,
13          v.                                          ORDER
14   C/O S. BIGNEY et al.,
15                      Defendants.
16

17          Plaintiff, a state prisoner proceeding pro se, has filed this civil rights action seeking relief

18   under 42 U.S.C. § 1983. The matter was referred to a United States Magistrate Judge pursuant to

19   28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

20          On November 22, 2013, the magistrate judge filed findings and recommendations herein

21   which were served on all parties and which contained notice to all parties that any objections to

22   the findings and recommendations were to be filed within twenty-one days. Neither party has

23   filed objections to the findings and recommendations.

24          The court has reviewed the file and finds the findings and recommendations to be

25   supported by the record and by the magistrate judge’s analysis. Accordingly, IT IS HEREBY

26   ORDERED that:

27          1. The findings and recommendations filed November 22, 2013, are adopted in full;

28          2. Defendants’ unopposed motion to revoke plaintiff’s in forma pauperis status, ECF No.
                                                       1
      Case 2:11-cv-03052-LKK-AC Document 33 Filed 01/28/14 Page 2 of 2


 1   27, is granted on the ground that plaintiff is barred from so proceeding in this action under the
 2   “three strikes” provision of 28 U.S.C. § 1915(g);
 3           3. Plaintiff is directed to pay the $350 filing fee in full within thirty days of the date of
 4   this order;
 5           4. This case will be dismissed should plaintiff fail to pay the filing fee within the time
 6   prescribed.
 7           DATED: January 28, 2014.
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